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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al.,1                            Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, Sonia Akter, depose and say that I am employed by Kroll Restructuring Administration
LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-captioned chapter 11
cases.

        At my direction and under my supervision, employees of Kroll caused the following
document to be served (1) by the date and method set forth on the Core/2002 Service List attached
hereto as Exhibit A, and (2) via First Class Mail on March 6, 2025 and Email on March 7, 2025
on the Notice Parties Service List attached hereto as Exhibit B:

     •       Debtors’ Omnibus Nonsubstantive Limited Objection Solely for Voting Purposes
             Associated with Certain Claims [Docket No. 1060]


                                 [Remainder of page intentionally left blank]


1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home & Appliance Outlet, LLC
(n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 2371 Liberty Way, Virginia Beach, Virginia 23456.
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Dated: March 25, 2025
                                                                /s/ Sonia Akter
                                                                  Sonia Akter
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on March 25, 2025, by Sonia Akter, proved to me on
the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ HERBERT BAER
Notary Public, State of New York
No BA6205563
Qualified in Westchester County
Commission Expires May 11, 2025




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                       Exhibit A
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                                                                                                                            Exhibit A
                                                                                                                       Core/2002 Service List
                                                                                                                      Served as set forth below

                                                                                                                                                                                                                       DATE AND METHOD OF
                                         DESCRIPTION                                                   NAME                                             ADDRESS                                             EMAIL            SERVICE

                                                                                                                            Attn: Marty L. Brimmage, Jr.
                                                                                                                            2300 N. Field Street
Counsel to Michael J. Wartell as the Independent Director and sole member of the                                            Suite 1800
Conflicts Committee of the Board of each of the Retaining Debtors                Akin Gump Strauss Hauer & Feld LLP         Dallas TX 75201                                            mbrimmage@akingump.com         March 7, 2025 by Email

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Conflicts Committee of the Board of each of the Retaining Debtors                Ashby & Geddes, P.A.                       Wilmington DE 19801                                        mdebaecke@ashbygeddes.com      March 7, 2025 by Email

                                                                                                                            Attn: Matthew P. Austria
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Counsel for Dell Financial Services, L.L.C.                                      Austria Legal, LLC                         Wilmington DE 19801                                        maustria@austriallc.com        March 7, 2025 by Email


                                                                                                                            Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A. Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP,                                                     919 North Market Street                                       heilmanl@ballardspahr.com
Continental Realty Corporation, Federal Realty OP LP, FR Grossmont, LLC,                                                    11th Floor                                                    roglenl@ballardspahr.com
Prime/FRIT Mission Hills, LLC, and ShopOne Centers REIT, Inc.                    Ballard Spahr LLP                          Wilmington DE 19801                                           vesperm@ballardspahr.com    March 7, 2025 by Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland                                              Attn: Kevin M. Newman
Commercial Real Estate Services LLC, Kempner Properties, LLC, National Realty &                                             Barclay Damon Tower
Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler                                          125 East Jefferson Street
REIT,LP, and/or certain of their affiliates                                        Barclay Damon LLP                        Syracuse NY 13202                                          knewman@barclaydamon.com       March 7, 2025 by Email

Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC
Management Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland                                              Attn: Niclas A. Ferland
Commercial Real Estate Services LLC, Kempner Properties, LLC, National Realty &                                             545 Long Wharf Drive
Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler                                          Ninth Floor
REIT,LP, and/or certain of their affiliates                                        Barclay Damon LLP                        New Haven CT 06511                                         nferland@barclaydamon.com      March 7, 2025 by Email

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Commercial Real Estate Services LLC, Kempner Properties, LLC, National Realty &                                             1270 Avenue of the Americas
Development Corp., Northridge Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler                                          Suite 501
REIT,LP, and/or certain of their affiliates                                        Barclay Damon LLP                        New York NY 10020                                          sfleischer@barclaydamon.com    March 7, 2025 by Email

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Counsel to Drink LMNT, Inc.                                                      Barnes & Thornburg LLP                     Wilmington DE 19801                                        kevin.collins@btlaw.com        March 7, 2025 by Email

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            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (LSS)                                                                                         Page 1 of 13
                                                                       Case 24-12480-LSS                             Doc 1179                  Filed 03/26/25              Page 5 of 18
                                                                                                                                Exhibit A
                                                                                                                           Core/2002 Service List
                                                                                                                          Served as set forth below

                                                                                                                                                                                                                                DATE AND METHOD OF
                                         DESCRIPTION                                                    NAME                                              ADDRESS                                                     EMAIL           SERVICE

Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan
LLC, Esan LLC, Fundamentals Company LLC, Muffrey LLC, Fundamentals Company,                                                     Attn: Ericka F. Johnson
Kinpark Associates, Laurie Industries Inc., Alisan Trust, Diajeff Trust, Stowsan                                                600 N. Market Street, Suite 400
Limited Partnership, Esue LLC, Alisan LLC, and Roseff LLC                        Bayard, P.A.                                   Wilmington DE 19801                                            ejohnson@bayardlaw.com          March 7, 2025 by Email

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Counsel to The ChildSmiles Group, LLC a/k/a Abra Health                           Benesch Friedlander Coplan & Aronoff LLP      Cleveland OH 44114                                             esmith@beneschlaw.com           March 7, 2025 by Email


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Stockholders                                                                     Bernstein Litowitz Berger & Grossmann LLP New York NY 10020                                                   thomas.james@blbglaw.com        March 7, 2025 by Email

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and DIP Agent                                                                       Blank Rome LLP                              Wilmington DE 19801                                            jordan.williams@blankrome.com   March 7, 2025 by Email

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Former Stockholders                                                               Block & Leviton, LLP                          Wilmington DE 19801                                            irene@blockleviton.com          March 7, 2025 by Email

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Counsel to Nancy C. Millan, Hillsborough County Tax Collector                     Brian T. FitzGerald                           Tampa FL 33601‐1110                                            connorsa@hcfl.gov               March 7, 2025 by Email

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Counsel to Oracle America, Inc                                                    Buchalter, A Professional Corporation         San Francisco CA 94105‐3493                                    schristianson@buchalter.com     March 7, 2025 by Email




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            Case No. 24‐12480 (LSS)                                                                                             Page 2 of 13
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                                                                                                                                 Exhibit A
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                                                                                                                           Served as set forth below

                                                                                                                                                                                                                      DATE AND METHOD OF
                                         DESCRIPTION                                                     NAME                                              ADDRESS                                         EMAIL            SERVICE

                                                                                                                                 Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in interest to                                                222 Delaware Avenue, Suite 1030
DDR Carolina Pavilion, LP, Sylvan Park Apartments, LLC                               Burr & Forman LLP                           Wilmington DE 19801                                 jfalgowski@burr.com             March 7, 2025 by Email

                                                                                                                                 Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
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LP, Sylvan Park Apartments, LLC                                                      Burr & Forman LLP                           Jacksonville FL 32202                               drobbins@burr.com               March 7, 2025 by Email

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Counsel to Hilco Merchant Resources, LLC                                             Chipman Brown Cicero & Cole, LLP            Wilmington DE 19801                                 desgross@chipmanbrown.com       March 7, 2025 by Email

                                                                                                                                 Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS                                                    901 Main Street, Suite 6000
Tempe, LLC, Vestar‐CPT Tempe Marketplace, LLC                                        Clark Hill PLC                              Dallas TX 75202                                     ahornisher@clarkhill.com        March 7, 2025 by Email

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Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS                                                    824 N. Market Street, Suite 710
Tempe, LLC, Vestar‐CPT Tempe Marketplace, LLC                                        Clark Hill PLC                              Wilmington DE 19801                                 kgrivner@clarkhill.com          March 7, 2025 by Email

                                                                                                                                 Attn: Bruce Z. Walker
                                                                                                                                 3350 Riverwood Parkway, Suite 1600
Counsel to Horizon Jajo, LLC                                                         Cohen Pollock Merlin Turner, P.C.           Atlanta GA 30339                                    bwalker@cpmtlaw.com             March 7, 2025 by Email

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Counsel to Blue Yonder, Inc.                                                         Connolly Gallagher LLP                      Wilmington DE 19801                                 jwisler@connollygallagher.com   March 7, 2025 by Email

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Counsel to Missouri Boulevard Investment Company                                     Cook, Vetter, Doerhoff & Landwehr, P.C.     Jefferson City MO 65101                             jlandwehr@cvdl.net              March 7, 2025 by Email

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Counsel to County of Loudoun, Virginia                                               County of Loudoun, Virginia                 Leesburg VA 20177‐7000                              belkys.escobar@loudoun.gov      March 7, 2025 by Email

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Counsel to Krober Supply Chain US, Inc                                               Cowles & Thompson, P.C.                     Dallas TX 75202                                     bsiegel@cowlesthompson.com      March 7, 2025 by Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (LSS)                                                                                              Page 3 of 13
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                                                                                                                                                                                                                     DATE AND METHOD OF
                                         DESCRIPTION                                                  NAME                                             ADDRESS                                     EMAIL                   SERVICE

                                                                                                                           Attn: Brian L. Shaw
                                                                                                                           123 North Wacker Drive
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Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23             Cozen O'Connor                            Chicago IL 60606                                     bshaw@cozen.com                     March 7, 2025 by Email

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Sunwarrior Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC               Cross & Simon, LLC                        Wilmington DE 19801                                  csimon@crosslaw.com                 March 7, 2025 by Email

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Counsel to Kings Mountain Investments, Inc.                                      Dentons Sirote PC                         Birmingham AL 35255‐5727                             stephen.porterfield@dentons.com     March 7, 2025 by Email

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Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates       Faegre Drinker Biddle & Reath LLP         Chicago IL 60606                                     mike.gustafson@faegredrinker.com    March 7, 2025 by Email

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Counsel to Ad Hoc Group of Freedom Lenders                                       Farnan LLP                                Wilmington DE 19801                                  mfarnan@farnanlaw.com               March 7, 2025 by Email

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Counsel for WPG Legacy, LLC                                                      Frost Brown Todd LLP                      Cincinnati OH 45202                                  jkleisinger@fbtlaw.com              March 7, 2025 by Email

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                                                                                                                           501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                             Frost Brown Todd LLP                      Pittsburgh PA 15219                                  sodonnell@fbtlaw.com                March 7, 2025 by Email




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            Case No. 24‐12480 (LSS)                                                                                        Page 4 of 13
                                                                           Case 24-12480-LSS                             Doc 1179                  Filed 03/26/25                Page 8 of 18
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                                                                                                                                                                                                                                            DATE AND METHOD OF
                                         DESCRIPTION                                                     NAME                                                  ADDRESS                                                EMAIL                       SERVICE

                                                                                                                                    Attn: Lorenzo Nunez
                                                                                                                                    PO Box 183853                                                                                          March 6, 2025 by First
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                                GM Financial Leasing                          Arlington TX 76096                                                                                     Class Mail

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                                                                                                                                    Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County Port                                                  Attn: Property Tax Division
of Houston Authority, Harris County Hospital District, and Harris County                                                            P.O. Box 2848
Department of Education (hereinafter “Harris County”)                                 Harris County Attorney’s Office               Houston TX 77252                                              taxbankruptcy.cao@harriscountytx.gov     March 7, 2025 by Email

                                                                                                                                    Attn: Phillip W. Nelson
                                                                                                                                    150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                                       Holland & Knight LLP                          Chicago IL 60606                                              phillip.nelson@hklaw.com                 March 7, 2025 by Email

                                                                                                                                    Attn: Flora Oropeza
                                                                                                                                    940 West Main Street, Suite 106                                                                        March 6, 2025 by First
Counsel to County to Imperial Treasurer‐Tax Collector                                 Imperial Treasurer‐Tax Collector              El Centro CA 92243                                                                                     Class Mail

                                                                                                                                    Centralized Insolvency Operation
                                                                                                                                    P.O. Box 7346                                                                                          March 6, 2025 by First
IRS Insolvency Section                                                                Internal Revenue Service                      Philadelphia PA 19101‐7346                                                                             Class Mail

                                                                                                                                    Attn: William J. Levant
                                                                                                                                    910 Harvest Drive
                                                                                                                                    Post Office Box 3037
Counsel to 100 Brentwood Associates, L.P.                                             Kaplin Stewart Meloff Reiter & Stein, P.C.    Blue Bell PA 19422                                            wlevant@kaplaw.com                       March 7, 2025 by Email


Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties                                                          Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick   KDWBankruptcyDepartment@kelleydrye.com
Retail, Inc., Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL                                                 3 World Trade Center                                          rlehane@kelleydrye.com
Property Management (Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc.,                                                       175 Greenwich Street                                          jraviele@kelleydrye.com
Regency Centers, L.P., Shamrock A. Owner LLC, and SITE Centers Corp.                Kelley Drye & Warren LLP                        New York NY 10007                                             aselick@kelleydrye.com                   March 7, 2025 by Email


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                                                                                      Ken Burton, Jr., Manatee County Tax           1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                              Collector                                     Brandenton FL 34205‐7863                                       legal@taxcollector.com                  March 7, 2025 by Email

                                                                                                                                    Attn: Scott A. Bachert
                                                                                                                                    1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC, Frontier                                                 P. O. Box 9547                                                                                         March 6, 2025 by First
Dover LLC, Frontier Kissimmee LLC                                                     Kerrick Bachert PSC                           Bowling Green KY 42102‐9547                                                                            Class Mail

                                                                                                                                    Attn: J. Daniel Albert, Michael McCutcheon
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and                                                          280 King of Prussia Rd
Former Stockholders                                                                   Kessler Topac Meltzer & Check LLP             Radnor PA 19087                                               dalbert@ktmc.com                         March 7, 2025 by Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (LSS)                                                                                                 Page 5 of 13
                                                                        Case 24-12480-LSS                            Doc 1179               Filed 03/26/25                Page 9 of 18
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                                                                                                                                                                                                                             DATE AND METHOD OF
                                         DESCRIPTION                                                     NAME                                           ADDRESS                                                 EMAIL              SERVICE

                                                                                                                             Attn: Joshua A. Sussberg, P.C., Nicole L. Greenblatt, P.C.,
                                                                                                                             Derek I. Hunter                                               joshua.sussberg@kirkland.com
                                                                                                                             601 Lexington Avenue                                          nicole.greenblatt@kirkland.com
Counsel to Debtors and Debtors In Possession                                      Kirkland & Ellis LLP                       New York NY 10022                                             derek.hunter@kirkland.com        March 7, 2025 by Email

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Counsel to Debtors and Debtors In Possession                                      Kirkland & Ellis LLP                       San Francisco CA 94101                                        mark.mckane@kirkland.com         March 7, 2025 by Email

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Owner LLC                                                                       Klehr Harrison Harvey Branzburg LLP          Wilmington DE 19801‐3062                                      dpacitti@klehr.com               March 7, 2025 by Email

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Owner LLC                                                                       Klehr Harrison Harvey Branzburg LLP          Philadelphia PA 19103                                         mbranzburg@klehr.com             March 7, 2025 by Email

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                                                                                                                                    Exhibit A
                                                                                                                               Core/2002 Service List
                                                                                                                              Served as set forth below

                                                                                                                                                                                                                                  DATE AND METHOD OF
                                         DESCRIPTION                                                   NAME                                                   ADDRESS                                              EMAIL                SERVICE

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                                                                                                                                                                                                                        DATE AND METHOD OF
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                                                                                                                                                                                                                              DATE AND METHOD OF
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Station LLC, Hamilton Ridge Station LLC, Hampton Village Station LLC, Memorial
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                                                                                                                                                                                                                                DATE AND METHOD OF
                                         DESCRIPTION                                                     NAME                                              ADDRESS                                                 EMAIL              SERVICE

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                                                                                                                                                                                                                         DATE AND METHOD OF
                                         DESCRIPTION                                               NAME                                                  ADDRESS                                         EMAIL                 SERVICE

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Counsel to Oracle America, Inc                                                  The Magnozzi Law Firm, P.C.                Huntington NY 11743                                       mmagnozzi@magnozzilaw.com          March 7, 2025 by Email

                                                                                                                           Attn: Louis F Solimine
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Counsel to LU Candlers Station Holdings, LLC                                    Thompson Hine LLP                          Cincinnati OH 45202‐4029                                  Louis.Solimine@ThompsonHine.com    March 7, 2025 by Email




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                                                                                                                           Exhibit A
                                                                                                                      Core/2002 Service List
                                                                                                                     Served as set forth below

                                                                                                                                                                                                                          DATE AND METHOD OF
                                         DESCRIPTION                                             NAME                                                  ADDRESS                                              EMAIL               SERVICE

                                                                                                                           Attn: Michael B. Pugh
                                                                                                                           2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                     Thompson O'Brien Kappler & Nasuti PC         Peachtree Corners GA 30092                                    mpugh@tokn.com                  March 7, 2025 by Email

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Counsel to Integra Cre, Inc.                                                  Tolson & Wayment, PLLC                       Idaho Falls ID 83404                                          ajt@aaronjtolsonlaw.com         March 7, 2025 by Email

                                                                                                                           Attn: Stephen B. Gerald
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a Amazing                                                  200 Continental Drive, Suite 401
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                                                                                                                           Attn: David C. Weiss & Ellen Slights
                                                                                                                           U.S. Attorney's Office
                                                                                                                           1313 N Market Street, Suite 400                                                               March 6, 2025 by First
U.S. Attorney for the District of Delaware                                    U.S. Attorney for Delaware                   Wilmington DE 19801                                                                           Class Mail

                                                                                                                           Secretary of the Treasury                                                                     March 6, 2025 by First
                                                                              U.S. Securities and Exchange Commission ‐    100 F. Street NE                                                                              Class Mail and March 7,
Securities and Exchange Commission                                            Headquarters                                 Washington DC 20549                                           secbankruptcy@sec.gov           2025 by Email

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                                                                                                                           Attn: Bojan Guzina                                                                            March 6, 2025 by First
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Counsel to the Second Lien Secured Parties; HoldCo Lenders                    White & Case LLP                             Chicago IL 60606                                              bojan.guzina@whitecase.com      2025 by Email
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                                                                                                                           Erin Smith, Brett Bakemeyer                                   azatz@whitecase.com
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Counsel to Ad Hoc Group of Freedom Lenders                                    White & Case LLP                             New York NY 10020‐1095                                        brett.bakemeyer@whitecase.com   March 7, 2025 by Email

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                        Exhibit B
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                                                                      Exhibit B
                                                               Notice Parties Service List
                                                          Served via First Class Mail and Email


                                        ADRID           NAME               ADDRESS                EMAIL

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                                       29740049 Ramirez, Olivia        Address on file    Email Address on file

                                       29740050 Ramirez, Olivia        Address on file    Email Address on file

                                       29967215 Zimmerman, Anna        Address on file    Email Address on file




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